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                          UNITEB STATES DISTRICT COURT
                                  DISTRICT OF NEVADA
 UNITED STATES OF AM ERICA,                  )
                                             )
                    Plaintiff,               )
                                             )
                                             )        2:lI-CR-IIO-RLH (VCF)
 YULIEATON                                   )
              ,                              )
                                             )
                    Defendant.               )
                                 O R DER O F FO RFEITU R E
        ThiscourtfotmdonM arch7,2012sthatYuLlEATON shallpayacrim inalforfeiturem oney

judgmentof$1,011,400.00inunitedStatesCurrency,ptlrsuanttoFed.R.Crim.P.32,2(b)(1)and(2);
 Title18,UnitedStatesCode,Section98l(a)(1)(C)andTitle28,UnitedStatesCode,Section2461(c);
 and Title 21,United States Code, Section 853(
                                             18. OrderofForfeiture,executed perM inutesof
 ChangeofPleaProceedings,ECF No.182.
        THEREFORE,IT ISHEREBY ORDERED , ADJUDGED,AND DEclkEED thattheUnited

 Sotes recover from YULI EATON a criminalforfeiture money judgment in the amount of
 $l,0l1,400.00inUnitedStatesCurrencypurjuanttoFed. R.Crim.P.32.
                                                              2(b)(4)(A)and(B);Title18,
UnitedStatesCode,Section98l(a)(1)(C)andTitle28,UnitedStatesCode,Section2461(c);andTitle
21,UnitedStatesCode,Section853û$.
        DATEDthis/ Y dayof .                         ,2012.


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